                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                            CHAPTER 13
 RONALD JOSEPH BESSER, JR.,
 a/k/a RONALD J. BESSER, JR.,                      CASE NO.: 5:25-bk-_______
 a/k/a RONALD BESSER, JR.,
 a/k/a RONALD JOSEPH BESSER,
 a/k/a RONALD J. BESSER,                            X ORIGINAL PLAN
 a/k/a RONALD BESSER,                                 AMENDED PLAN (Indicate 1st , 2nd , 3rd
 f/d/b/a BEST WITH BESSER,                              , etc.)
 a/k/a DANA LOUIS BESSER,                             Number of Motions to Avoid Liens
 a/k/a DANA L. BESSER,
 a/k/a DANA BESSER,
                                                      Number of Motions to Value Collateral
 a/k/a DANA KUBIAK,
 f/d/b/a BEST WITH BESSER,
 Debtor

                                       CHAPTER 13 PLAN

                                              NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as “Not Included” or if both boxes are checked or if neither
box is checked, the provision will be ineffective if set out later in the plan.

 1 The plan contains nonstandard provisions, set out in § 9,           Included       Not
   which are not included in the standard plan as approved by                         Included
   the U.S. Bankruptcy Court for the Middle District of
   Pennsylvania.
 2 The plan contains a limit on the amount of a secured claim,         Included       Not
   set out in § 2.E, which may result in a partial payment or no                      Included
   payment at all to the secured creditor.
 3 The plan avoids a judicial lien or nonpossessory,                   Included       Not
   nonpurchase-money security interest, set out in § 2.G.                             Included

                             YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely
written objection. This plan may be confirmed and become binding on you without further notice or
hearing unless a written objection is filed before the deadline stated on the Notice issued in
connection with the filing of the plan.

1. PLAN FUNDING AND LENGTH OF PLAN.

   A. Plan Payments From Future Income

        1. To date, the Debtor paid $N/A (enter $0 if no payments have been made to the Trustee to
date). Debtor shall pay to the Trustee for the remaining term of the plan the following payments. If
applicable, in addition to monthly plan payments, Debtor shall make conduit payments through the
Trustee as set forth below. The total base plan is $57,000.00, plus other payments and property
stated in § 1B below:



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    Start           End                Plan            Estimated        Total             Total
   mm/yyyy         mm/yyyy           Payment            Conduit        Monthly          Payment
                                                       Payment         Payment         Over Plan
                                                                                          Tier
 02/2025         01/2030          $950.00                N/A         $950.00          $57,000.00


                                                                            Total $57,000.00
                                                                        Payments:

        2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the
Trustee that a different payment is due, the Trustee shall notify the Debtor and any attorney for the
Debtor, in writing, to adjust the conduit payments and the plan funding. Debtor must pay all post-
petition mortgage payments that come due before the initiation of conduit mortgage payments.

       3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform
   to the terms of the plan.

       4. CHECK ONE: (X) Debtor is at or under median income. If this line is checked, the rest
                     of § 1.A.4 need not be completed or reproduced.

                            ( ) Debtor is over median income. Debtor estimates that a minimum of
                            $_______ must be paid to allowed unsecured creditors in order to
                            comply with the Means Test.


   B. Additional Plan Funding From Liquidation of Assets/Other

       1. The Debtor estimates that the liquidation value of this estate is $0.00. (Liquidation value
          is calculated as the value of all non­exempt assets after the deduction of valid liens and
          encumbrances and before the deduction of Trustee fees and priority claims.)

       Check one of the following two lines.

        X      No assets will be liquidated. If this line is checked, the rest of § 1.B need not be
               completed or reproduced.

               Certain assets will be liquidated as follows:


       2. In addition to the above specified plan payments, Debtor shall dedicate to the plan
          proceeds in the estimated amount of $_______ from the sale of property known and
          designated as ___________. All sales shall be completed by ___________, 20____. If
          the property does not sell by the date specified, then the disposition of the property shall
          be as follows: _______________.


                                                   2


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       3. Other payments from any source(s) (describe specifically) shall be paid to the Trustee as
          follows: ___________________________________


2. SECURED CLAIMS.

  A. Pre-Confirmation Distributions. Check one.

   X      None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.

          Adequate protection and conduit payments in the following amounts will be paid by the
          Debtor to the Trustee. The Trustee will disburse these payments for which a proof of
          claim has been filed as soon as practicable after receipt of said payments from the
          Debtor.

                    Name of Creditor                          Last Four Digits        Estimated
                                                                of Account             Monthly
                                                                 Number               Payment


       1. The Trustee will not make a partial payment. If the Debtor makes a partial plan
          payment, or if it is not paid on time and the Trustee is unable to pay timely a payment
          due on a claim in this section, the Debtor’s cure of this default must include any
          applicable late charges.

       2. If a mortgagee files a notice pursuant to Fed. R. Bankr. P. 3002.1(b), the change in the
          conduit payment to the Trustee will not require modification of this plan.


  B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other
     Direct Payments by Debtor. Check one.

          None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.

   X      Payments will be made by the Debtor directly to the creditor according to the original
          contract terms, and without modification of those terms unless otherwise agreed to by
          the contracting parties. All liens survive the plan if not avoided or paid in full under the
          plan.

       Name of Creditor                   Description of Collateral                  Last Four
                                                                                      Digits of
                                                                                      Account
                                                                                      Number
PennyMac Loan Services           1st mortgage on 1126 Shagbark Lane,                   7561
                                 Stroudsburg, PA 18360
Wilmington Savings Fund          2nd mortgage on 1126 Shagbark Lane,                    0001
Society                          Stroudsburg, PA 18360

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Wilmington Savings Fund          3rd mortgage on 1126 Shagbark Lane,                   5573
Society                          Stroudsburg, PA 18360
Bridgecrest Credit               Auto loan on 2016 Volkswagen Passat                   6301
Company
Bridgecrest Credit               Auto loan on 2020 Ford Edge                           0602
Company

  C. Arrears, including, but not limited to, claims secured by Debtor’s principal residence.
     Check one.

   X     None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

         The Trustee shall distribute to each creditor set forth below the amount of arrearages in
         the allowed proof of claim. If post-petition arrears are not itemized in an allowed claim,
         they shall be paid in the amount stated below. Unless otherwise ordered, if relief from
         the automatic stay is granted as to any collateral listed in this section, all payments to the
         creditor as to that collateral shall cease, and the claim will no longer be provided for
         under § 1322(b)(5) of the Bankruptcy Code:

  Name of Creditor             Description of           Estimated      Estimated      Estimated
                                Collateral             Pre-petition      Post-        Total to be
                                                        Arrears to      petition       paid in
                                                        be Cured       Arrears to        plan
                                                                       be Cured



  D. Other secured claims (conduit payments, claims for which a § 506 valuation is not
     applicable, etc.)

   X     None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.

         The claims below are secured claims for which a § 506 valuation is not applicable, and
         can include: (1) claims that were either (a) incurred within 910 days of the petition date
         and secured by a purchase money security interest in a motor vehicle acquired for the
         personal use of the Debtor, or (b) incurred within 1 year of the petition date and secured
         by a purchase money security interest in any other thing of value; (2) conduit payments;
         or (3) secured claims not provided for elsewhere.

         1. The allowed secured claims listed below shall be paid in full and their liens retained
            until the earlier of the payment of the underlying debt determined under
            nonbankruptcy law or discharge under § 1328 of the Code.

         2. In addition to payment of the allowed secured claim, present value interest pursuant
            to 11 U.S.C. §1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed
            below, unless an objection is raised. If an objection is raised, then the court will
            determine the present value interest rate and amount at the confirmation hearing.

                                                 4


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         3. Unless otherwise ordered, if the claimant notifies the Trustee that the claim was paid,
            payments on the claim shall cease.

  Name of Creditor        Description of Collateral       Principal       Interest   Total to be
                                                          Balance of       Rate       Paid in
                                                            Claim                       Plan


  E. Secured claims for which a § 506 valuation is applicable. Check one.

         None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.

   X     Claims listed in the subsection are debts secured by property not described in § 2.D of
         this plan. These claims will be paid in the plan according to modified terms, and liens
         retained until the earlier of the payment of the underlying debt determined under
         nonbankruptcy law or discharge under § 1328 of the Code. The excess of the creditor’s
         claim will be treated as an unsecured claim. Any claim listed as “$0.00” or “NO
         VALUE” in the “Modified Principal Balance” column below will be treated as an
         unsecured claim. The liens will be avoided or limited through the plan or Debtor will file
         an adversary action (select method in last column). To the extent not already determined,
         the amount, extent or validity of the allowed secured claim for each claim listed below
         will be determined by the court at the confirmation hearing. Unless otherwise ordered, if
         the claimant notifies the Trustee that the claim was paid, payments on the claim shall
         cease.

Name of Creditor          Description of     Value of          Interest     Total        Plan,
                           Collateral       Collateral          Rate       Payment    Adversary
                                            (Modified                                  or Other
                                            Principal)                                  Action
Wilmington            3rd mortgage on 1126 $44,503.34            0%        $44,503.34    Plan
Savings Fund          Shagbark Lane,
Society               Stroudsburg, PA
                      18360

  F. Surrender of Collateral. Check one.

   X     None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.

         The Debtor elects to surrender to each creditor listed below the collateral that secures the
         creditor’s claim. The Debtor requests that upon confirmation of this plan or upon
         approval of any modified plan the stay under 11 U.S.C. §362(a) be terminated as to the
         collateral only and that the stay under §1301 be terminated in all respects. Any allowed
         unsecured claim resulting from the disposition of the collateral will be treated in Part 4
         below.

       Name of Creditor                    Description of Collateral to be Surrendered


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  G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check
     one.

   X       None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.

           The Debtor moves to avoid the following judicial and/or nonpossessory, non-purchase
           money liens of the following creditors pursuant to § 522(f) (this § should not be used for
           statutory or consensual liens such as mortgages).


        Name of Lien Holder.
        Lien Description. (For a judicial lien,
        include court and docket number.)
        Description of the liened property.
        Liened Asset Value
        Sum of Senior Liens
        Exemption Claimed
        Amount of Lien
        Amount Avoided


3. PRIORITY CLAIMS.

  A. Administrative Claims

       1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by
          the United States Trustee.

       2. Attorney’s fees. Complete only one of the following options:

           a. In addition to the retainer of $1,000.00 already paid by the Debtor, the amount of
              $4,000.00 in the plan. This represents the unpaid balance of the presumptively
              reasonable fee specified in L.B.R. 2016-2(c); or

           b. $___________ per hour, with the hourly rate to be adjusted in accordance with the
              terms of the written fee agreement between the Debtor and the attorney. Payment of
              such lodestar compensation shall require a separate fee application with the
              compensation approved by the Court pursuant to L.B.R. 2016-2(b).

       3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                 Check one of the following two lines.

            X       None. If “None” is checked, the rest of § 3.A.3 need not be completed or
                    reproduced.

                    The following administrative claims will be paid in full.


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             Name of Creditor                               Estimated Total Payment


  B. Priority Claims (including certain Domestic Support Obligations).

     Allowed unsecured claims, entitled to priority under § 1322(a) will be paid in full unless
     modified under § 9.

            Name of Creditor                                Estimated Total Payment
   Pennsylvania Department of Revenue                               $550.11

  C. Domestic Support Obligations assigned to or owed to a governmental unit under 11
     U.S.C. §507(a)(1)(B). Check one of the following two lines.

      X     None. If “None” is checked, the rest of § 3.C need not be completed or reproduced.

            The allowed priority claims listed below are based on a domestic support obligation
            that has been assigned to or is owed to a governmental unit and will be paid less than
            the full amount of the claim. This plan provision requires that payments in § 1.A. be
            for a term of 60 months (see 11 U.S.C. §1322(a)(4)).

             Name of Creditor                               Estimated Total Payment



4. UNSECURED CLAIMS

  A. Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of the
     following two lines.

      X     None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.

            To the extent that funds are available, the allowed amount of the following
            unsecured claims, such as co-signed unsecured debts, will be paid before other,
            unclassified, unsecured claims. The claim shall be paid interest at the rate stated
            below. If no rate is stated, the interest rate set forth in the proof of claim shall apply.


 Name of Creditor       Reason for Special                       Estimated       Interest    Estimated
                          Classification                         Amount of        Rate         Total
                                                                  Claim                      Payment


  B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds
     remaining after payment of other classes.



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5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following
   two lines.

     X      None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

            The following contracts and leases are assumed (and arrears in the allowed claim to be
            cured in the plan) or rejected:

 Name of Creditor         Description of       Monthly Interest Estimated             Total  Assume
                           Contract or         Payment  Rate     Arrears               Plan    or
                              Lease                                                  Payment Reject


6. VESTING OF PROPERTY OF THE ESTATE.

    Property of the estate will vest in the Debtor upon

    Check the applicable line:

     X    plan confirmation.
          entry of discharge.
          closing of case:

7. DISCHARGE: (Check one)

    (X)     The debtor will seek a discharge pursuant to § 1328(a).
    ( )     The debtor is not eligible for a discharge because the debtor has previously received a
            discharge described in § 1328(f).

8. ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the
Trustee will treat the claim as allowed, subject to objection by the Debtor.

Payments from the plan will be made by the Trustee in the following order:
 Level 1 Adequate protection payments                       $ -0-
 Level 2 Debtor’s attorney’s fees.                          $ 4,000.00
 Level 3 Domestic Support Obligations                       $ -0-
 Level 4 Priority claims, pro rata                          $    550.11
 Level 5 Secured claims, pro rata                           $ 44,503.34
 Level 6 Specially classified unsecured claims              $ -0-
 Level 7 General unsecured claims                           $ 2,246.55
 Level 8 Untimely filed unsecured claims to which the $ -0-
           debtor(s) has/have not objected.
           Subtotal                                                                 $ 51,300.00
           Trustee Commission                               $ 5,700.00
           Total                                                                    $ 57,000.00
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If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above
Levels are not filled-in, then the order of distribution of plan payments will be determined by the
Trustee using the following as a guide:

Level 1: Adequate protection payments.
Level 2: Debtor’s attorney’s fees.
Level 3: Domestic Support Obligations.
Level 4: Priority claims, pro rata.
Level 5: Secured claims, pro rata.
Level 6: Specially classified unsecured claims.
Level 7: Timely filed general unsecured claims.
Level 8: Untimely filed general unsecured claims to which the Debtor has not objected.


9. NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision
placed elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as
one document, not as a plan and exhibit.)



Dated: January 27, 2025                   /s/ Vincent Rubino, Esq.
                                          VINCENT RUBINO, ESQ., Attorney for Debtor


                                          /s/ Ronald Joseph Besser, Jr.
                                          RONALD JOSEPH BESSER, JR., Debtor


                                          /s/ Dana Louise Besser
                                          DANA LOUISE BESSER, Joint Debtor


By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
also certifies that this plan contains no nonstandard provisions other than those set out in § 9.




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